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     In the United States Court of Federal Claims
                                      No. 17-1812C
                                (Filed: January 24, 2020)

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GIESECKE & DEVRIENT GMBH,          *
                                   *                        Patent Infringement; Motion
            Plaintiff,             *                        for Attorney Fees; 35 U.S.C. §
                                   *                        285; Exceptionality;
     v.                            *                        Prevailing Party.
                                   *
THE UNITED STATES,                 *
                                   *
            Defendant,             *
                                   *
CSRA, INC.,                        *
                                   *
            Third-Party Defendant, *
                                   *
GEMALTO, INC.,                     *
                                   *
            Third-Party Defendant, *
                                   *
IDEMIA IDENTITY                    *
& SECURITY USA, LLC,               *
                                   *
            Third-Party Defendant, *
                                   *
HID GLOBAL CORP.,                  *
                                   *
            Noticed Nonparty.      *
                                   *
*****************************

      Jay F. Utley, Brian C. McCormack, W. Bart Rankin, D. Yoon Chae, Baker & McKenzie,
LLP, 1900 N. Pearl Street, Suite 1500, Dallas, TX 75201, for Plaintiff.
      Lionel M. Lavenue, Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, Two
Freedom Square, 11955 Freedom Drive, Reston, VA 20190, for noticed nonparty HID Global
Corporation.
    ______________________________________________________________________

                            OPINION AND ORDER
    ______________________________________________________________________
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WILLIAMS, Senior Judge.
         This matter comes before the Court on noticed nonparty HID Global Corp.’s (“HID”),
motion seeking attorney fees and costs pursuant to 35 U.S.C. § 285. After almost a year of
litigation, Plaintiff Giesecke & Devrient GmbH (“Giesecke”) withdrew its infringement claims
against HID’s products. Because HID is a prevailing party and the case is exceptional under 35
U.S.C. § 285, HID’s motion is granted as to entitlement to attorney fees. 1
                              Background and Procedural History 2
        Giesecke is a German technology company offering “pioneering passport technologies . . .
used for secure and efficient border controls.” First Am. Compl. ¶¶ 2, 9. Giesecke is the sole
owner and assignee of U.S. No. Patent 7,837,119, (the ’119 patent), entitled “Contactless Data
Carrier,” which “generally describes apparatuses and methods for reliably determining the
deliberate use of a contactless data carrier.” Id. ¶¶ 12, 15. The ’119 patent describes a “contactless
data carrier” as “all arrangements[] which have a microchip and an antenna connected to it and are
adapted to exchange data with a suitable reading device.” First Am. Compl., Ex. A at 7. The ’119
patent states that such data carriers include “contactlessly readable identification documents, such
as passports and identity cards with built-in microchip as well as, furthermore, RFID [Radio
Frequency Identification] labels.” Id.
       HID is a corporation which provides the United States with two types of identity cards:
Permanent Resident Cards (aka “Green Cards”) and Global Entry cards (collectively, the “card-
based products”). Ex. M to ECF No. 16; Fees Hr’g Tr. 7. 3
The Complaint and Giesecke’s Infringement Theory for Card-based Products
        On November 17, 2017, Giesecke filed its original complaint accusing the Government of
infringing the ’119 patent through use and manufacture of contactless data carriers and devices,
such as United States Passport Cards (“ePassports”) and other official identification cards,
including HID’s card-based products. Compl. ¶¶ 2, 12, 20, 26. The complaint states:
       On information and belief, examples of infringing contactless data carriers include,
       without limitation, electronically enabled machine readable travel documents
1
        This opinion confirms the Court’s oral ruling on liability on July 8, 2019. ECF No. 111.
The timing of issuance of this decision reflects the fact that following that ruling, the case was
transferred to the Honorable Ryan T. Holte, and Plaintiff and HID agreed to mediate the issue of
the quantum of attorney fees with the undersigned. However, that mediation was unsuccessful.
2
       This background is derived from Giesecke’s first amended complaint, HID’s motion for
attorney fees, the parties’ motion papers, and the hearing on HID’s motion for attorney fees held
on July 8, 2019.
3
       “Fees Hr’g Tr.” refers to the July 8, 2019 hearing on HID’s motion for attorney fees. ECF
No. 111. “Mot. to Dismiss Hr’g Tr.” refers to the October 30, 2018 hearing addressing HID’s
motion to dismiss the first amended complaint and Giesecke’s motion for leave to file the second
amended complaint. ECF No. 58.


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       (eMRTDs) . . . such as . . . United States Passport Cards, Permanent Resident Cards
       (a.k.a. Green Cards), and Global Entry cards, that meet the requirements of the
       International Civil Aviation Organization (ICAO) . . . .
Compl. ¶ 20 (emphasis added). 4
         The sole specific infringement theory Giesecke articulated as to the card-based products
was based on ICAO-compliance--specifically compliance with Part 9 of ICAO Doc. 9303, which
sets standards for machine readable travel documents. Compl. ¶¶ 20-43; ICAO Doc. 9303 (2015).
The complaint does not contain any allegations describing how the card-based products infringe
any ’119 patent claims aside from repeated references to compliance with the ICAO Doc 9303
requirements and a statement that “the United States is a charter member of ICAO . . . and has
been in compliance with ICAO standards at all relevant times.” Compl. ¶ 21. In its sur-reply to
HID’s motion for attorney fees, Giesecke states that it “specifically based an infringement theory
as it related to the accused card products on the content of the 2015 version of Part 9 of ICAO Doc.
9303.” ECF No. 99 at 4.
        At oral argument, counsel for Giesecke stated “[for] a card-based product, it is our
allegation that if it practiced the [ICAO] 9303 standard, that would be the type of a product that
would, in fact, in our view, practice one or more of the asserted claims.” Fees Hr’g Tr. 48-49.
Giesecke also argued that ICAO-compliance was not the sole basis on which the card-based
products could infringe, and that the card-based products were included as “merely an example of
the type of product that, if it practiced that [ICAO standard] would infringe.” Fees Hr’g Tr. 47-
48.
       While the complaint includes the card-based products in a list of allegedly infringing
eMRTDs (like ePassports) which meet the requirements of the ICAO, Doc. 9303 Part 9, it contains
no other theory or factual allegations suggesting how the card-based products might infringe the
’119 patent other than the card-based products’ compliance with ICAO requirements. 5 Compl. ¶¶
20-43; ICAO Doc. 9303 (2015).
       In HID’s view, however, the card-based products do not comply with the requirements of
Part 9, or of other ICAO Parts, and thus cannot, by the ICAO’s own definition, be enabled
machine-readable travel documents, or eMRTDs. ECF No. 63, 7-11. HID argues that the card-
based products work entirely differently than eMRTDs. ECF No. 63, 10-11; Fees Hr’g Tr. 7-35.

4
       Giesecke’s first amended complaint contains identical allegations against HID’s card-
based products. See ECF No. 1 ¶¶ 20-21; ECF No. 13 ¶¶ 20-21.
5
        In contrast, the complaint does contain detailed factual allegations and analyses regarding
how non card-based products--ePassports and their associated inspection systems--comply with
the ICAO Doc 9303 standard and practice ’119 patent claims 1, 14, and 24, which the complaint
calls “exemplary infringed claim[s].” Compl. ¶¶ 26-43. The complaint states that these analyses
“are provided merely as examples and should not be interpreted as limiting infringement to those
types of contactless data carriers, methods, and/or reading devices.” Compl. ¶ 25. The complaint
continues that the analysis provided with regard to claims 1, 14, and 24 is intended to satisfy the
notice requirements of Rule 8(a)(2) of the Federal Rules of Civil Procedure and “does not represent
Giesecke’s preliminary or final infringement contentions.” Compl. ¶ 42.
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Thus, HID claims, the card-based products cannot infringe under Giesecke’s own theory, and
should never have been accused. ECF No. 68 at 8-9; Fees Hr’g Tr. 7-35. All of this, HID alleges,
would have been uncovered had Giesecke conducted an adequate prefiling investigation. ECF No.
68 at 2.
The Requirements of ICAO Doc. 9303 Part 9
        Part 9 delineates standards for the storage and reading of biometric data on eMRTDs. 6 In
order to comply with Part 9, eMRTDs must contain “a contactless integrated circuit, with a data
storage capacity of at least 32 kB [256,000 bits],” and must carry the following symbol:




ICAO Doc. 9303, Part 9 at 2. (2015). If a product does not comply with these requirements, it
“may not be called an eMRTD.” Id.
         HID argues that even a cursory inspection of its card-based products would have shown
that they lack the “Chip Inside” symbol. ECF No. 63 at 8. Additionally, HID contends, the card-
based products have, at most, 768 bits of storage, falling far short of the 256,000 bits required to
comply with Part 9. Fees Hr’g Tr. 30. According to HID, this storage discrepancy reflects the
stark difference between how card-based products and eMRTDs, such as ePassports, work: the
card-based products contain only a RFID number, which is used to retrieve information stored on
remote servers. ECF No. 63, 8-11; Fees Hr’g Tr. 30. The eMRTDs, by contrast, contain an
authentication feature and store biometric and biographical information on the embedded chip
itself, necessitating 256,000-bit storage capacity. Fees Hr’g Tr. 7-35.
        In sum, HID argues that its card-based products operate entirely differently than ICAO-
compliant eMRTDs like ePassports and that a simple visual inspection would have shown that the
card-based products lacked the “Chip Inside” symbol, did not comply with Part 9, and thus did not
infringe under Giesecke’s own theory. ECF No. 68 at 8-9; Fees Hr’g Tr. 7-35.
HID Moves to Dismiss and Raises Rule 11: Giesecke Seeks Leave to Amend and Drops its
Claims Against the Card-based Products
       The Court granted the Government’s motion to notify interested parties on April 2, 2018,
and Giesecke filed its first amended complaint on April 6, 2018. ECF Nos. 1, 10, 13. On July 9,
2018, noticed nonparty HID filed a motion under Rule 12(b)(6) to dismiss all allegations relating



6
    Part 9 is titled “Deployment of Biometric Identification and Electronic Storage of Data in
MRTDs.” ICAO Doc. 9303, Part 9.


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to card-based products in Giesecke’s first amended complaint. 7 ECF No. 41. In its motion, HID
argued that the first amended complaint “fail[ed] to allege any facts to support the claims of
infringement with respect to the [card-based products].” Id. at 7 (emphasis in original). HID
contended that the complaint only alleged facts and analysis relating to infringement by ePassports,
and that Giesecke was required to set forth factual allegations “showing how each accused product
or service specifically . . . meet[s] at least one claim limitation.” ECF No. 41 at 6 (quoting Comcast
Cable Comm., LLC v. OpenTV, Inc,. 319 F.R.D. 269, 273 (N.D. Cal. 2017)) (emphasis omitted)).
        On August 6, 2018, Giesecke filed its opposition to the motion to dismiss, arguing “the
[complaint] makes the well-supported allegation that the [card-based products] comply with
substantially the same ICAO standards and/or others as the [ePassports] and similarly meet the
limitations of the Asserted Claims.” ECF No. 44 at 11. Giesecke maintained this position until
October 16, 2018, when Giesecke filed its motion for leave to amend the complaint. ECF No. 52.
Thus, Giesecke continued opposing HID’s motion to dismiss for over three months after it was
placed on notice of the deficiencies that HID identified in Giesecke’s allegations against the card-
based products.
        In a footnote in its motion to dismiss, HID noted that Rule 11(b) required Giesecke to
conduct a prefiling investigation and that, when a pleading is filed, an attorney “certifies that to
the best of [his] knowledge, information, and belief, formed after an inquiry reasonable under the
circumstances . . . the factual contentions have evidentiary support.” Rule 11(b); ECF No. 41 at
8, n.3. HID did not comment “at this time . . . on whether [Giesecke had] complied” with Rule
11, but “reserve[d] the right to do so.” ECF No. 41 at 8, n.3. Giesecke, HID stated, “had a prefiling
duty under [Rule 11(b)] to actually investigate and compare each of the accused products with the
patent claims.” ECF No. 41 at 8, n.3 (emphasis in original). HID argued that if the Court were to
find that Giesecke had violated this duty, “sanctions could be appropriate” under Rule 11(c). Id.
        Briefing on HID’s motion to dismiss was completed on August 20, 2018. ECF No. 45. On
September 26, 2018, over two months after filing HID’s motion to dismiss, counsel for HID sent
a letter to counsel for Giesecke, which stated “this letter serves as formal notice that [HID] is
preparing a motion for sanctions against [Giesecke] under Rule 11, and that HID plans to seek full
recoupment of fees and costs.” ECF No. 52, Ex. 2 at 2. HID cited the card-based products’ lack
of a “Chip Inside” symbol and claimed that “[e]ven the most limited inspection . . . would have
shown that the accused card products do not operate as claimed in [the’119 patent] or in a manner
similar to the US Passport.” Id. at 2-3. The letter continued: “it is inconceivable that an industry
veteran, like [Giesecke], which itself manufactures and tests card products complying with the doc
9303 standard, or its counsel, did not know of its pre-filing obligations to perform such a simple
inspection.” Id. HID did not, however, file a motion for sanctions under Rule 11.
        On October 16, 2018, Giesecke filed a motion for leave to file a second amended complaint
dropping the claims against the card-based products and making some minor clarifications to the
other allegations. ECF No. 52 at 1. HID opposed this motion. ECF Nos. 52, 54. HID argued that
permitting Giesecke to amend its complaint and having the claims against the card-based products
dismissed without prejudice would leave HID with a “Damoclean sword hanging over our head,
that [Giesecke] could bring the card-based products back into the case as to HID later.” Mot. to
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       Neither the Government nor any other noticed nonparty joined in HID’s motion. ECF No.
41.
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Dismiss Hr’g Tr. 17. Instead, HID asked the Court to grant its pending Rule 12(b)(6) motion and
dismiss the claims against the card-based products with prejudice, thus ensuring the claims were
“gone forever.” ECF No. 58 at 14.
        At oral argument on October 30, 2018, counsel for Giesecke represented that Giesecke
was removing the card-based products from the case, that it would not seek discovery against the
card-based products, and that it would not add the products back into the suit and had no
intention to file a separate suit against the card-based products that could implicate HID. Mot. to
Dismiss Hr’g Tr. 44-45. Counsel for Giesecke stated at oral argument that it dropped its claims
against the card-based products to “streamline the case . . . and that happens in almost every
patent case.” Fees Hr’g Tr. 75.
        On December 28, 2018, the Court granted Giesecke’s motion to amend its complaint and
dismissed the claims Giesecke sought to withdraw against several accused card-based
technologies—including HID’s Permanent Resident Cards and Global Entry Cards—without
prejudice. ECF No. 59. The Court deemed dismissal of the withdrawn claims with prejudice to
be inappropriate given that no adjudication of these claims had occurred. See Power Mosfet
Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1416 (Fed. Cir. 2004) (“The dismissal of a claim
with prejudice, however, is a judgment on the merits under the law of the Federal Circuit.”); Davis
v. United States, 961 F.2d 53, 57 (5th Cir. 1991) (holding that it was incorrect for the district court
to dismiss case with prejudice without reaching the merits of the case).
HID Moves for Attorney Fees, and Mediation is Unsuccessful.
        On January 28, 2019, HID filed its motion for attorney fees and costs under 35 U.S.C. §
285, or, in the alternative, this Court’s inherent authority. ECF No. 63. HID argued that it was
entitled to attorney fees under Section 285 because Giesecke failed to conduct an adequate
prefiling investigation. ECF No. 63 at 1-2. HID claimed that a brief visual inspection would have
shown that the card-based products lacked the “Chip Inside” symbol and thus did not comply with
Part 9, and argued that Giesecke’s failure to take this simple step prior to bringing infringement
claims and subjecting HID to substantial litigation costs makes this case exceptional under Section
285. ECF No. 63 at 7 (internal quotations omitted). HID also claimed that it was a prevailing
party because its motion to dismiss caused Giesecke to amend its complaint to drop its contentions
against HID. ECF No. 63 at 14. Alternatively, HID argued that this Court should exercise its
inherent authority to award attorney fees and costs. ECF No. 63 at 1, 15; Fees Hr’g Tr. 11.
        Opposing HID’s fees motion, Giesecke argued that its prefiling investigation was adequate
and that HID was not a prevailing party under Section 285 because Giesecke voluntarily dismissed
its claims against HID’s card-based products. ECF No. 72 at 2, 6; Fees Hr’g Tr. 58-62, 99-107.
Giesecke also argued its conduct did not meet the high threshold for an exercise of the Court’s
inherent power to award attorney fees and that HID’s fees motion violated Rule 54(d)(2)(B), the
rule governing post-judgment motions for attorney fees, as it failed to state the amount sought.
ECF No. 72 at 19, 20; Fees Hr’g Tr. 58.
        On February 27, 2019, the Court granted HID’s motion to bifurcate the issues of
entitlement to, and quantum of, attorney fees. ECF No. 76. On July 8, 2019, the Court heard oral
argument as to entitlement. ECF No. 111. In an off-record colloquy, the Court orally granted
HID’s motion as to entitlement to attorney fees. Id.

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       On July 29, 2019, counsel for HID and Giesecke informed the Court that they wished to
pursue settlement as to the quantum of any Section 285 fees through the Court of Federal Claims’
Alternative Dispute Resolution (“ADR”) program. ECF No. 118. On that same date, this case
was reassigned to Judge Ryan T. Holte. ECF No. 116. On July 30, 2019, Judge Holte referred the
matter of quantum to the undersigned for ADR. ECF No. 118. That ADR was ultimately
unsuccessful.
       This opinion memorializes and explains the Court’s oral ruling as to HID’s entitlement to
attorney fees, but does not address the issue of quantum, which is now pending before Judge Holte.
                                             Discussion
       The Patent Act states that a district court “in exceptional cases may award reasonable
attorney fees to the prevailing party.” 35 U.S.C. § 285. Thus, in order to award attorney fees, the
Court must find that this case is “exceptional” and that HID is a “prevailing party.”
Exceptionality
       The Supreme Court has held that an exceptional case
       is simply one that stands out from others with respect to the substantive strength of
       a party’s litigating position (considering both the governing law and the facts of the
       case) or the unreasonable manner in which the case was litigated. District courts
       may determine whether a case is “exceptional” in the case-by-case exercise of their
       discretion, considering the totality of the circumstances.
Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014).
        In Octane Fitness, the Supreme Court rejected a “rigid and mechanical formulation” of
exceptionality in favor of a “flexible” and holistic approach. 572 U.S. at 550, 555. The Court
noted that since “there is no precise rule or formula for making these determinations . . . equitable
discretion should be exercised.” Id. at 554 (internal citations omitted). Courts are to consider the
totality of the circumstances in their analysis, and the movant bears the burden of proving
exceptionality by a preponderance of the evidence. Id. at 557.
        “The determination whether a case is ‘exceptional’ is indisputably committed to the
discretion of the district court.” Lumen View Tech. LLC v. Findthebest.com, Inc., 811 F.3d 479,
482 (Fed. Cir. 2016) (citing Highmark Inc. v. Allcare Health Mgmt. Sys., Inc., 572 U.S. 559, 563
(2014)). The exceptional-case determination is reviewed for abuse of discretion. Highmark, 572
U.S. at 563. “An abuse of discretion occurs when a district court’s decision commits legal error
or is based on a clearly erroneous assessment of the evidence.” Univ. of Utah v. Max-Planck-
Gesellschaft Zur Foerderung der Wissenschaften e.V., 851 F.3d 1317, 1322 (Fed. Cir. 2017)
(affirming the district court’s exceptionality determination, noting that “[t]he trial judge was in the
best position to understand and weigh” the issues and that she “had no obligation to write an
opinion that reveals her assessment of every consideration”).
       Courts making an exceptionality determination may consider the “frivolousness,
motivation, [and] objective unreasonableness (both in the factual and legal components of the
case)” of a party’s allegations, as well as “the need in particular circumstances to advance

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considerations of compensation and deterrence.” Octane Fitness, 572 U.S. at 554, n.6 (quoting
Fogerty v. Fantasy, Inc., 510 U.S. 517, 534 (1994)). A party’s “unreasonable conduct,” while
“not necessarily independently sanctionable” under Rule 11, may nonetheless make a case
exceptional. Octane Fitness, 572 U.S. at 555. “[A] case presenting . . . exceptionally meritless
claims may sufficiently set itself apart” to be deemed exceptional. Univ. of Utah, 851 F.3d at 1322
(quoting Octane Fitness); see also Nova Chems. Corp. v. Dow Chem. Co., 856 F.3d 1012, 1017
(Fed. Cir. 2017) (finding that “[t]he substantive strength of a party’s litigating position[]—i.e.,
whether it is objectively baseless—[can] independently support an exceptional-case
determination”).
        The Court concludes that this case is exceptional, considering the lack of basis in Plaintiff’s
ICAO-compliance infringement theory against the card-based products, Plaintiff’s failure to
provide any factual support for its prefiling investigation, and considerations of deterrence and
compensation. First, Giesecke’s complaint articulates only one putative theory of infringement
regarding the card-based products: ICAO-compliance. This theory, however, should have been
quickly neutralized by the card-based products’ lack of both a “Chip Inside” symbol and the 32
kB storage required by the ICAO. As HID points out, a basic visual inspection of the card-based
products would have uncovered the lack of a “Chip Inside” symbol. That Giesecke nonetheless
“specifically based” its infringement theory on ICAO Doc. 9303 Part 9 strongly undermines the
factual and legal sufficiency of this allegation. 8 ECF No. 99 at 4.
        At oral argument, counsel for Giesecke argued that it had a good faith basis for its claims
because HID “may” produce cards that practice the ’119 patent claims but do not comply with the
ICAO requirements. Fees Hr’g Tr. 54. However, counsel for Giesecke could not identify any
such cards or say whether HID ever produced them. Fees Hr’g Tr. 53-54. At any rate, Giesecke
did not mention any such cards in its original or first amended complaint, or in its papers opposing
HID’s motion to dismiss or motion for attorney fees. See generally ECF Nos. 1, 13, 44, 72, 99.
        Further, Plaintiff provided the Court with no objective evidence detailing or explaining
Giesecke’s prefiling investigation. In its response to HID’s motion for attorney fees, counsel for
Giesecke stated that its prefiling investigation lasted a year. ECF No. 72 at 2. Specifically, counsel
for Giesecke represented that Giesecke first reviewed the ’119 patent in order to determine its
scope, then performed a preliminary claim construction, reviewed publicly available information,
including that on HID’s website, relating to all of the accused products, and visually inspected
both the ePassports and the card-based products. Id. at 2-3. However, none of these
representations were supported by declarations or documentary evidence despite the fact that
conduct and adequacy of Giesecke’s prefiling investigation were squarely at issue in the subject
motion for fees.

8
         In its response to the fees motion, Giesecke argues that, because its complaint references
compliance with the ICAO requirements “and/or others,” it did articulate other standards that the
products could practice and infringe, such as the standard “specified under the Western
Hemisphere Travel Initiative (WHTI)” See ECF No. 72 at 12, n.4. However, Giesecke did not
reference the WHTI standard in the complaint or any other filings and failed to articulate how
card-based technologies could practice or infringe the WHTI standard. As noted above, Giesecke
later stated that it “specifically based” its infringement theory “as it related to the accused card
products on the content of . . . [ICAO Doc. 9303 Part 9],” without referencing the WHTI standard.
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        Although Giesecke claims that its prefiling investigation was memorialized in document
form, it declined offers by the Court to review such materials in camera, as the following colloquy
reflects:
       THE COURT: Okay. Now, [counsel for HID] suggested that in many of these
       cases there are two documents in the pocket of a plaintiff. One would be an expert
       opinion, and the other would be a prefiling memorandum. Those would be
       privileged. He suggested to me that typically courts review those in camera. You
       have not proffered those. Number one, do they exist? You just said there was an
       investigation. Was it memorialized somehow?
       COUNSEL FOR GIESECKE: Your honor, I – as I stand here today, I, frankly, am
       not sure in what fashion it was memorialized. Certainly there are documents that
       memorialize those efforts. You know, whether it was done in a type of
       memorandum as described by counsel, I can’t represent for sure if that’s the case
       or not, but what I will say with respect to those cases that were referred to and cited
       to in HID’s briefing and discussed a bit this morning is that they all concern Rule
       11. This is not a Rule 11 motion.
       *       *      *
       THE COURT: I would, of course, give you the opportunity, if you wanted to, to
       file whatever prefiling investigation materials you have with the Court in camera,
       but you know that. You know that you have the right to ask for leave to do that,
       and you opted not to.
       COUNSEL FOR GIESECKE: Yes, your honor, and we appreciate the opportunity
       ....
Fees Hr’g. Tr. 55-56, 65-66.
        Giesecke also claimed that it examined the requirements of ICAO Doc 9303, and
subsequently “made the good-faith determination that products complying with ICAO Doc 9303 .
. . would practice and infringe one or more of the ’119 [p]atent’s claims.” ECF No. 72 at 3. Again,
no contemporaneous documents or sworn statements support this post hoc description of
Giesecke’s prefiling process.
        In sum, Giesecke never tendered any declarations, expert opinions, or documents
supporting Plaintiff’s prefiling investigation to the Court for in camera review. Thus,
Giesecke presented the Court no evidence to support its claims of an extensive prefiling
investigation, nor to explain how its investigation failed to detect the obvious lack of a
“Chip Inside” symbol on the card-based products. ECF No. 99 at 5.
        Other circumstances support a finding of exceptionality. Over three months after HID
moved to dismiss the claims against the card-based products and some three weeks after HID’s
Rule 11 letter, Giesecke sought leave to file a second amended complaint to withdraw its claims
against the card-based products. Up until that time, however, Giesecke had vigorously opposed



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HID’s motion, causing HID, the Court, and Giesecke itself to expend time and resources. 9 In its
second amended complaint, Giesecke dropped its allegations against HID’s card-based products.
Sec. Am. Compl. ¶ 20.
         The Federal Circuit affirmed a finding of exceptionality under similar circumstances in
Lumen View Tech. LLC v. Findthebest.com, Inc., 811 F.3d 479 (Fed. Cir. 2016). In Lumen View,
the plaintiff was the exclusive licensee of a patent directed to a method of “facilitating bilateral
and multilateral decisionmaking” which required preference data from two parties. Id. at 481. The
district court found that the plaintiff’s claims against the defendant’s accused products were
“objectively unreasonable” because “‘the most basic’ pre-suit investigation would have shown that
the accused . . . [product] feature only used the preference data of one party.” Id. Though the
plaintiff “maintain[ed] that it conducted a pre-suit investigation compliant with Rule 11,” it did
not provide any evidence of its prefiling investigation. Id. at 482-83. Considering what it termed
the plaintiff’s “baseless” allegations and the “absence of any reasonable pre-suit investigation,”
the district court found that the case was exceptional under Section 285. Lumen View Tech., LLC
v. Findthebest.com, Inc., 24 F. Supp. 3d 329, 337 (S.D.N.Y. 2014). In its decision affirming the
district court’s finding of exceptionality, the Federal Circuit stated that even if the plaintiff’s
litigation conduct was “not quite sanctionable, the [trial] court reasonably determined that the case
was exceptional.” Lumen View, 811 F.3d at 483; see also UltimatePointer, LLC v. Nintendo Co.,
No. C14-0865RSL, 2015 WL 3822577, at *2 (W.D. Wash. Mar. 11, 2015), aff’d sub nom.
Ultimatepointer, L.L.C. v. Nintendo Co., 640 F. App’x 968 (Fed. Cir. 2016) (finding a case
exceptional where the plaintiff’s prefiling investigation was deficient and its claims against the
majority of accused products were “unnecessary and unsupported”).
        Here, as in Lumen View, even a cursory prefiling investigation would have revealed that
Giesecke’s infringement allegations against the card-based products were untenable because those
products lacked two readily verifiable characteristics covered by Part 9 of the ICAO standard--the
“Chip Inside” symbol and the minimum 32-kB storage capacity. Also similar to Lumen View,
Giesecke has failed to proffer any evidence of its prefiling investigation. While as in Lumen View,
Plaintiff’s litigation conduct here may not be sanctionable under Rule 11, 10 the lack of a reasonable
basis for infringement allegations and absence of evidence of an adequate prefiling investigation
weigh in favor of finding exceptionality. See Lumen View, 811 F.3d at 484.
        Considerations of compensation and deterrence also favor a finding of exceptionality here.
As Chief Justice Roberts has observed, “patent litigation is particularly complex, and particularly
costly.” F.T.C. v. Actavis, Inc., 570 U.S. 136, 170 (2013) (Roberts, C.J., dissenting). As a result,
“Congress enacted Section 285 not only to deter frivolous claims and bad faith litigation (which
are already covered by other statutes and rules), but also [to deter] lawsuits that are simply
exceptional in that they ‘stand out.’” Iris Connex, LLC v. Dell, Inc., 235 F. Supp. 3d 826, 845
(E.D. Tex. 2017). Consequently, “the threat of Section 285 looming overhead provides a check

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       HID filed its motion to dismiss on July 9, 2018, and Giesecke filed its opposition on August
6, 2018. ECF Nos. 41, 44. Counsel for HID sent its letter raising Rule 11 on September 26, 2018,
and Giesecke sought leave to file its second amended complaint dropping its claims against the
card-based products on October 16, 2018. ECF No. 52, Ex. 2.
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       In the instant case, HID did not seek sanctions under Rule 11.
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and balance meant to deter exceptional cases by imposing a direct and significant financial risk.”
Id.
        Unlike many Section 285 requests, this case is in the early stages of litigation--a
circumstance which also contributes to its exceptionality, in that it did not take much development
of a record--no discovery, no trial, and no fact-finding--for Giesecke to delete its allegation that
the card-based products were infringing. Cf. Godo Kaisha IP Bridge 1 v. TCL Commc’n Tech.
Holdings Ltd., No. CV 15-634-JFB, 2019 WL 1877189, at *7 (D. Del. Apr. 26, 2019) (holding
that a “hotly contested” case resulting in trial verdict not exceptional); Brigham & Women’s Hosp.,
Inc. v. Perrigo Co., 251 F. Supp. 3d 285, 293 (D. Mass. 2017), reconsideration dismissed, No. CV
13-11640-RWZ, 2017 WL 3298671 (D. Mass. Aug. 2, 2017) (finding no exceptionality where
case was “vigorously litigated” through trial.) In this Court’s view, overly broad allegations of
infringement which apparently implicate wrongly accused products, without evidence of a
prefiling investigation, make this case “stand out” from others when considering deterrence of this
type of litigation conduct. Octane Fitness, 572 U.S. at 554.
        In the highly competitive arena of dueling technologies, being wrongly accused of
infringing a competitor’s patent can have a deleterious effect. It is costly to defend a complex
patent lawsuit, and being accused of infringement may be damaging to one’s “brand” or reputation.
Here, HID was forced to expend resources from the time it received notice of the suit on April 4,
2018, until the Court’s December 28, 2018 Order dismissing Giesecke’s claims against the card-
based products. ECF Nos. 10, 59. As HID argues, these fees and costs could have been avoided
if Giesecke had performed a cursory review of these products before it accused the card-based
technology of infringing its patent or at least eliminated the card-based products from the suit as
soon as it was on notice of its deficient allegations.
       Plaintiff has made no showing that it had an objectively reasonable basis for including
these products in this suit in the first place. Plaintiff’s amorphous theory about the card-based
technologies’ compliance with the ICAO standard was unsupported.
       Accordingly, considering the totality of the circumstances and applying the preponderance
of the evidence standard, the Court finds that this case is exceptional under 35 U.S.C. § 285.
Octane Fitness, 572 U.S. at 554.
HID Is a Prevailing Party Because Its Legal Relationship with Giesecke Has Been Materially
Altered.
        Under Section 285, a court may only award reasonable attorney fees to the prevailing party.
The Supreme Court has found that a favorable judgment on the merits is not necessary for a
defendant to be deemed a prevailing party for purposes of statutory fee-shifting. CRST Van
Expedited, Inc. v. EEOC, 136 S. Ct. 1642, 1651 (2016). In CRST, the Court stated that the
“touchstone of the prevailing party inquiry must be the material alteration of the legal relationship
of the parties.” Id. at 1646 (quoting Tex. State Teachers Ass’n v. Garland Indep. Sch. Dist., 489
U.S. 782, 792-93 (1989)). The Court stated that “[c]ommon sense undermines the notion that a
defendant cannot ‘prevail’ unless the relevant disposition is on the merits.” Id. at 1651. The Court
further stated that “[t]he defendant may prevail even if the court’s final judgment rejects the
plaintiff’s claim for a nonmerits reasons.” Id.


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        In the wake of CRST, the Federal Circuit in Raniere v. Microsoft Corporation, 887 F.3d
1298 (Fed. Cir. 2018), explained that that the post-CRST prevailing-party inquiry “is not limited
to whether a defendant prevailed on the merits, but also considers whether the district court’s
decision—‘a judicially sanctioned change in the legal relationship of the parties’—effects or
rebuffs a plaintiff’s attempt to effect a ‘material alteration in the legal relationship between the
parties.’” 887 F.3d at 1306 (quoting CRST, 136 S. Ct. at 1651). Here, the Court’s refusal to even
join HID as a party defendant completely rebuffed Giesecke’s attempt to secure any relief against
HID for infringement.
        Giesecke argues that HID is not a prevailing party under Section 285 because voluntary
dismissal of claims without prejudice does not confer prevailing party status under Raniere. ECF
72 at 6. Giesecke argues that HID’s “only involvement in this matter was to file an unsuccessful
Rule 12(b)(6) [motion to dismiss], and to unsuccessfully challenge Giesecke’s [m]otion to
[a]mend.” Id. at 7. Giesecke minimizes the relief HID achieved--HID was never named as a party
defendant.
        Giesecke further argues that HID did not prevail because HID did not achieve its “primary
focus,” which was a dismissal of the claims asserted against it with prejudice. Id. Plaintiff’s
insistence that the dismissal had to be “with prejudice” to confer prevailing party status elevates
form over substance. The moniker of a dismissal “without prejudice” should not be used to color
what happened here. Under Rule 41(a)(2), a voluntary dismissal by court order is “without
prejudice” unless the court finds that the defendant will suffer legal prejudice, such as when a
plaintiff “does not seek dismissal until a late stage” in the litigation. See Puerto Rico Mar.
Shipping Auth. v. Leith, 668 F.2d 46, 50 (1st Cir. 1981); Hartford Acc. & Indem. Co. v. Costa
Lines Cargo Servs., Inc., 903 F.2d 352, 360 (5th Cir. 1990); Pace v. S. Exp. Co., 409 F.2d 331,
334-35 (7th Cir. 1969) (affirming denial of voluntary dismissal without prejudice where case had
been pending for one and one-half years, considerable discovery had been conducted, and
defendant had already briefed its motion for summary judgment.)
       Dismissals “with prejudice” are typically reserved for adjudications of the merits of a
claim. See Mich. Surgery Inv., LLC v. Arman, 627 F.3d 572, 576 (6th Cir. 2010); Jaramillo v.
Burkhart, 59 F.3d 78, 79 (8th Cir. 1995). Here, the Court was not asked to go so far as to adjudicate
Giesecke’s claims against HID, and it would have made little sense to force the parties to go
through a charade of a merits determination no one wanted simply to apply the moniker “with
prejudice.”
        The Court recognizes that describing a dismissal as being “without prejudice” would
permit a plaintiff to raise the identical claim again. This Court has been assured, however, that
such is not Plaintiff’s intent, as the following colloquy indicates:
       THE COURT: So as an officer of the court, are you willing to stipulate, as you
       stand here today, that you will not seek discovery on the card-based products?
       COUNSEL FOR GIESECKE: Yes, Your Honor. That’s I think – what we clearly
       stated to [HID] is that we are removing the card-based products from the suit.
        *      *       *



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       THE COURT: Now, earlier in this hearing, you represented, as an officer of the
       court, that you had no intention of adding the card-based products back into this
       lawsuit at any time.
       COUNSEL FOR GIESECKE: That’s correct, Your Honor
       THE COURT: And that’s still correct?
       COUNSEL FOR GIESECKE: That’s still correct.
Mot. to Dismiss Hr’g Tr. 44-46.
         As the Supreme Court noted in CRST, a defendant has attained prevailing party status and
“fulfilled its primary objective whenever the plaintiff’s challenge is rebuffed, irrespective of the
precise reason for the court’s decision.” 136 S. Ct. at 1651. Given the material change in the legal
relationship between HID and Giesecke, effected in the Court’s December 28, 2018 Order
eliminating card-based technologies (and HID) from this lawsuit, and reflected in Giesecke’s
representations that it would not seek discovery or re-assert its claims against the card-based
products, HID is a prevailing party under Section 285. 11
                                           Conclusion
       HID’s Motion for Attorney Fees is GRANTED as to entitlement. 12



                                              s/Mary Ellen Coster Williams
                                              MARY ELLEN COSTER WILLIAMS
                                              Senior Judge




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       To the extent that Giesecke argues that HID’s motion for attorney fees should be dismissed
under Rule 54 because the motion did not state the amount sought, this Court’s February 27, 2019
Order bifurcating the issues of entitlement to and quantum of attorney fees defeats that argument.
ECF No. 76. Additionally, in any event, at the hearing, counsel for HID did provide a dollar
estimate of the amount of HID’s fees as of that time. Fees Hr’g Tr. 19-20.
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        As the Court finds that HID is entitled to attorney fees under Section 285, the Court does
not reach HID’s argument seeking attorney fees based on the Court’s inherent authority. ECF No.
63 at 15-16.
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